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		OSCN Found Document:IN THE MATTER OF THE GUARDIANSHIP OF R.B.

					

				
  



				
					
					
						
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				IN THE MATTER OF THE GUARDIANSHIP OF R.B.2020 OK 85Case Number: 117574Decided: 10/05/2020THE SUPREME COURT OF THE STATE OF OKLAHOMA
Cite as: 2020 OK 85, __ P.3d __

				
NOTICE: THIS OPINION HAS NOT BEEN RELEASED FOR PUBLICATION. UNTIL RELEASED, IT IS SUBJECT TO REVISION OR WITHDRAWAL. 

IN THE MATTER OF THE GUARDIANSHIP OF R.B.:
LYNDSI HELLARD, Respondent/Appellant,
v.
DAVID BOMAN and SANDRA BOMAN, Petitioners/Appellees.
ORDER
Appellee's Petition for Writ of Certiorari is hereby granted and the June 3, 2020, Order of the Oklahoma Court of Civil Appeals, Div. II, denying her attorney fees, is vacated. Appellee's Motion for Appeal-related Attorney Fees is granted. GRP of Texas, Inc. v. Eateries, Inc., 2001 OK 53, ¶8, 27 P.3d 95 ("appeal-related attorney's fees are allowed when they are also allowed for trial court proceedings. . . . ."). This matter is remanded to the trial court for the purpose of conducting an evidentiary hearing to determine the reasonableness of the amount of Appellee's attorney fees. 12 O.S. Supp. 2012 § 696.4; State ex rel. Burk v. City of Oklahoma City, 1979 OK 115, 598 P.2d 659.
DONE BY ORDER OF THE SUPREME COURT IN CONFERENCE THIS 5th DAY OF OCTOBER, 2020.
/S/CHIEF JUSTICE
GURICH, C.J., DARBY, V.C.J., WINCHESTER, EDMONDSON, COLBERT, COMBS, KANE, JJ. -concur
KAUGER and ROWE, JJ. - dissent




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